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                                                                                  fiiV.
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                                      20I8MOV28 AM II: 35
                                 DUBLIN DIVISION
                                                                   CLERK
                                                                                     GA.
UNITED STATES OF AMERICA


        V.                                          CR 318-012-2


OCTAVIA MICHELLE STEPHENS




                                      ORDER




        Before      the   Court in this criminal matter is a motion for

return of        bond filed by Defendant Octavia Michelle Stephens.

Following her arrest in the case, Stephens appeared before the

United States Magistrate Judge on June 27, 2018.                The Magistrate

Judge granted Stephens a $20,000 bond secured by $2,000 cash.

Stephens posted her own bond in the amount of $2,000.

        On July 6, 2018, the Magistrate Judge determined that Stephens

could make partial payments of her appointed attorney's fees in

the amount of $150 a month for twelve months - a total of $1800.

To date, Stephens has only made one payment.             Thus, she still owes

$1650 in attorney's fees pursuant to the Court's Order of July 6,

2018.         Her   attorney,   Mr.   Joseph   I.   Marchant,   has    been   paid

$1,018.15 from the CJA fund.

     The charges against Stephens were dismissed on September 20,

2018.        Further, it appears that Stephens complied with the terms
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and conditions of her pre-trial release.       Accordingly, the $20,000

bond is hereby exonerated.         However, pursuant to 18 U.S.C. §

3006A(f), the Court hereby ORDERS that the Clerk of Court apply

$868.15 currently on deposit in the Court's registry toward payment

of Stephens' attorney's fees.^       Thereafter, the Court ORDERS the

Clerk   of   Court   to   return $1131.85,   plus   any and   all accrued

interest, to

     Octavia Michelle Stephens
     209 Wolfe Street
     Dublin, GA 31021

     Upon the foregoing, Stephens' motion for return of bond (doc.

no. 67) is GRANTED IN PART.

     ORDER ENTERED at Augusta, Georgia, this            day of November,

2018.




                                        UNITED STAZES DISTRICT




^  This figure credits Stephens with the $150 payment she has
already paid.
